     Case 22-01109-MBK Doc 6 Filed 06/27/22 Entered 06/27/22 10:21:50                         Desc Main
 UNITED STATES BANKRUPTCY COURT
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 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)
  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Timothy P. Neumann, Esq. [TN6429]
  Geoffrey P. Neumann, Esq. [59702019]
  BROEGE, NEUMANN, FISCHER & SHAVER,
  LLC
  25 Abe Voorhees Drive
 In Re:                                                    Case No.:                   22-12916
                                                                                 ____________________
  Manasquan, New Jersey 08736
  GEORGE
  Tel: (732) SARIOTIS
             223-8484 and                                  Adv. No.:                   22-1109
                                                                                 ____________________
  CINDY    SARIOTIS
  Email: timothy.neumann25gmail.com
          geoff.neumann@gmail.com
  Attorneys for Debtors-in-Possession,                     Hearing Date:         ____________________
 GEORGE SARIOTIS and
  George Sariotis and Cindy Sariotis
 CINDY SARIOTIS                                            Judge:                ____________________
                                                                                   Michael B. Kaplan
 vs.
 THALIA SARIOTIS, ELLYNN WETTER, and
 RYAN WETTER




                        Recommended Local Form:       ✔ Followed
                                                      ”                    ” Modified



                                               ENTRY OF DEFAULT


       It appearing that the following defendant(s) failed to plead or otherwise defend in this proceeding as
required by law:
        Defendants have not retained counsel, have not filed opposition to Plaintiffs' motion for
        summary judgment, and have not filed a pro se Answer to the complaint.



       THEREFORE, default is entered against said defendant(s) as authorized by Fed. R. Bank. P. 7055.



       June 27, 2022
Dated: ____________________                                 _____________________________
                                                            JAMES J. WALDRON, Clerk

                                                                                                        Rev. 7/1/04; jml
